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   JERRY MOBERG & ASSOCIATES
 2 Jerry Moberg
   jmoberg@jmlawps.com
 3
    124 Third Avenue, SW
 4 Ephrata, W A 98 823
   (509) 754-2356
 5

 6 PILLSBURY WINTHROP SHAW PITTMAN LLP
   David Klein
 7
   david.klein@pillsburylaw.com
 8 John Chamberlain
   john.chamberlain@pillsburylaw.com
 9
   1200 Seventeenth Street, NW
10 Washington, DC 20036
11 (202) 663-8000

12    Attorneys for Petitioners
13
                  IN THE UNITED STATES DISTRICT COURT
14              FOR THE EASTERN DISTRICT OF WASHINGTON
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16
      In Re Application of ZA YN AL-            Case No. 2: 17-cv-00 171-JLQ
17    ABIDIN MUHAMMAD HUSAYN
      (Abu Zubaydah) and                        DECLARATION OF BARTLOMIEJ
18
      BARTLOMIEJ JANKOWSKI,                     JANKOWSKI IN SUPPORT OF
19                                              PETITIONERS' RESPONSE TO
            Petitioners                         THE UNITED STATES'
20
                                                STATEMENT OF INTEREST
21

22
            I, Bartlomiej Jankowski, do hereby make this declaration pursuant to 28
23

24    U.S.C. § 1746 supporting the response of Petitioners Zayn Al-Abidin
25
      Muhammad Husayn ("Abu Zubaydah") and Joseph Margulies to the United
26
27
28    DECLARATION OF
      BARTLOMIEJ JANKOWSKI                     -1-
     Case 2:17-cv-00171-JLQ    ECF No. 18     filed 07/21/17   PageID.592 Page 2 of 4




      States' Statement of Interest. On the basis of my personal knowledge, I state as
 2
      follows:
 3

 4          1.    I am a Polish citizen and attorney, and I serve as counsel to Abu

 5
      Zubaydah.    Together with co-counsel, I represented Abu Zubaydah in his
 6
      application against Poland before the European Court of Human Rights, and
 7
 8    continue to represent him as the victim of crimes currently under investigation

 9    by the Organized Crimes Division of the Regional Public Prosecutor's office in
10
      Krakow, Poland.
11

12          2.    Under Polish law, as a victim of the crimes under investigation
13
      Abu Zubaydah has substantial procedural rights in the investigation, including
14
      the right to appeal to the judiciary as an aggrieved party if the investigation
15

16    closes without any prosecution, and the right to compensation if the
17
      investigation results in convictions. The above stems from the provisions of
18
      Article 306 § 1a point 1) of the Polish Criminal Procedure Code and Article 46
19

20    of the Polish Criminal Code respectively.
21
            3.    Abu Zubaydah, as a victim of the crimes under investigation, also
22
      has the right under Polish law to submit evidence to aid the investigation. The
23

24    above stems from the provisions of Article 167 of the Polish Criminal
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28    DECLARATION OF
      BARTLOMIEJ JANKOWSKI                  -2-
     Case 2:17-cv-00171-JLQ    ECF No. 18    filed 07/21/17   PageID.593 Page 3 of 4




      Procedure Code. I understand that Petitioners' application before this Court has
 2
      been made in furtherance of that right.
 3

 4

 5    I declare under penalty of perjury under the Jaws of the United States of
 6




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28    DECLARATION OF
      BARTLOMIEJ JANKOWSKI                  -3-
     Case 2:17-cv-00171-JLQ    ECF No. 18     filed 07/21/17   PageID.594 Page 4 of 4



 1                                CERTIFICATE OF SERVICE
 2           I hereby certify that on July 21, 2017, I electronically filed the foregoing with
 3
       the Clerk of the Court using the CM/ECF system, which will send notification of
 4

 5     such filing to the following:
 6                                      Andrew Irvin Warden
 7                                     andrew.warden@usdoj.gov
 8                                 Attorney for the United States
 9

10                                             s/ Jerry Moberg
11                                             Jerry Moberg
12                                             jmoberg@jmlawps.com
                                               JERRY MOBERG & ASSOCIATES
13                                             124 Third Avenue, SW
14                                             Ephrata, WA 98823
                                               (509) 754-2356
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       DECLARATION OF
       BARTŁOMIEJ JANKOWSKI
